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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA


In re:                                                       Bky. Case No. 08-41984-GFK

Donald Andrew Driggs,                                                     Chapter 11 Case

                Debtor.


              NOTICE OF HEARING AND MOTION OF COMMERCE BANK FOR
                         RELIEF FROM THE AUTOMATIC STAY

To:      Debtor and other parties in interest as specified in Local Rule of Bankruptcy
         Procedure 9013-3(a)

         1.     Commerce Bank, a Minnesota state banking corporation (the “Bank”), a

creditor in this case, by and through its undersigned attorneys, moves the Court for the

relief requested below and gives notice of hearing herewith.

         2.     The Court will hold a hearing on this Motion at 10:30 a.m., on December

9, 2008, before the Honorable Gregory F. Kishel, in Courtroom No. 2A, at the United

States Courthouse, 316 North Robert Street, St. Paul, Minnesota 55101, or as soon

thereafter as counsel may be heard.

         3.     Any response to this Motion must be filed and delivered not later than

December 4, 2008, which is three days before the date set for the hearing (excluding

Saturdays, Sundays and holidays), or filed and served by mail not later than

December 1, which is seven days before the date set for the hearing (excluding

Saturdays, Sundays and holidays).

         4.     UNLESS A RESPONSE OPPOSING THE MOTION IS TIMELY FILED,

THE COURT MAY GRANT THE MOTION WITHOUT A HEARING.




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         5.    This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

and 1334, Federal Rule of Bankruptcy Procedure 5005 and Local Rule 1070-1. This

case was commenced by the filing of a Voluntary Chapter 11 Petition on April 24, 2008

(the “Petition Date”). This case is now pending in this Court.

         6.    This Motion arises under 11 U.S.C. § 362(d) and Federal Rule of

Bankruptcy Procedure 4001. This Motion is filed under Federal Rule of Bankruptcy

Procedure 9014 and Local Rules 9013-1 and 9013-2. The Bank requests relief in the

form of an order modifying the automatic stay to permit the Bank to exercise all of its

rights and remedies as a secured creditor with respect to the real and personal property

of the Debtor located in Hennepin County, Minnesota described as Lot 6, Block 16,

Calhoun Park, Hennepin County, Minnesota (the “Collateral”). The street address of the

Collateral is 3022 Hennepin Avenue. The building is known as the Suburban World

Theatre.

         7.    The Bank made a similar motion in this case that was heard on August 25,

2008. An order was entered denying the motion at that time.

         8.    The Bank is a first secured creditor on virtually all of the real estate,

fixtures and personal property of the Collateral.

I.       THE INDEBTEDNESS.

         9.    As of the Petition Date, the Debtor was indebted to the Bank pursuant to

four Promissory Notes (hereinafter referred to as “Note A,” “Note B,” “Note C” and

“Note D,” respectively, and collectively referred to as the “Notes”), as follows:




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Note          Date of Note   Principal       Interest and        Total Due as of
                             Balance         Fees Through        March 19, 2008
                                             March 19, 2008
Note A        06/29/2007      501,109.13      42,793.48           543,902.61
Note B        09/24/2004       50,000.00        1,662.64           51,662.64
Note C        06/04/2004      149,977.97        4,987.31          154,965.28
Note D        07/31/2007      159,370.17      16,373.02           175,743.19
                                                  Grand Total:    926,273.72

A true and correct copy of Note A is annexed hereto as Exhibit A.

        10.      Notes B, C and D are secured in whole or in part by mortgages on other

real property of the Debtor. This motion does not seek any relief with respect to

property of the Debtor other than 3022 Hennepin Avenue and the personal property

related thereto.

        11.      Note A is secured by a Mortgage on the Collateral filed for record with the

Office of the Registrar of Titles of Hennepin County, Minnesota as Document No.

3939937 on March 30, 2004. A true and correct copy of the Mortgage is annexed

hereto as Exhibit B.

        12.      As further security for Note A, the Debtor executed and delivered to the

Bank an Assignment of Leases and Rents dated March 29, 2004 and filed for record

with the Office of the Registrar of Titles of Hennepin County, Minnesota as Document

No. 3939938 on March 30, 2004. A true and correct copy of the Assignment of Leases

and Rents is annexed hereto as Exhibit C.

        13.      As further security for Note A and the other Notes, the Debtor executed

and delivered to the Bank a Commercial Security Agreement dated March 29, 2004

granting a security interest to the Bank in, among other things, the Debtor’s accounts

and other rights to payment, inventory, equipment, instruments, chattel paper and




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general intangibles. The security interest specifically extended to deposit accounts and

to a purchase money security interest in all business assets, including all restaurant

equipment located at 3022 Hennepin Avenue, Minneapolis, Minnesota 55408. A true

and correct copy of the Commercial Security Agreement is annexed hereto as

Exhibit D.

        14.   To perfect its security interest, a UCC-1 Financing Statement was filed

with the Office of the Secretary of State of Minnesota on April 1, 2004 and assigned

Document No. 200411214386. A true and correct copy of the UCC-1 Financing

Statement is annexed hereto as Exhibit E.

II.     GROUNDS FOR RELIEF FROM THE AUTOMATIC STAY.

        A.    For Cause.

        15.   The Petition commencing this case was filed on April 24, 2008. Although

the Debtor immediately began to use cash collateral, he did not make a motion for

authority to use cash collateral until June 3, 2008. An Order was entered authorizing

the Debtor to use cash collateral through August 11, 2008. Authority to use cash

collateral expired on that date and no subsequent motion was made until following the

original motion by Commerce Bank to lift the automatic stay. A subsequent motion was

filed on August 27, 2008.

        16.   On July 31, 2008, the Debtor filed his original Chapter 11 Plan of

Reorganization and Disclosure Statement. The Debtor has yet to conclude the hearing

on the adequacy of the Disclosure Statement.

        17.   Upon information and belief, the hearing on the Disclosure Statement now

scheduled for November 12, 2008 at 10:30 a.m. is to be continued to sometime in early




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December. The Debtor has made little progress toward confirming a plan. The delay

alone is prejudicial to creditors such as the Bank and is adequate cause for relief from

the automatic stay at this time.

        18.   In addition, there are unique circumstances with respect to Suburban

World Theatre that are cause for lifting the automatic stay. The Debtor has disclosed

that the Theatre is being occupied and operated by Great Suburban World Theatre,

LLC, an LLC wholly owned by the Debtor. This entity is occupying the Suburban World

Theatre and operating it apparently without any written lease agreement with the

Debtor. Moreover, the Bank’s requests for information as to the financial performance

of this entity have received responses that are unsatisfactory. For example, annexed

hereto as Exhibit F is a copy of what the Debtor apparently believes is responsive to a

request for a financial report for the performance of this entity for the month of

September, 2008.

        19.   Any alleged “equity cushion” that may have been adequate protection to

the Bank is being eroded as unpaid taxes accrue, interest and costs are added to the

secured claim of the Bank, and the Bank’s collateral is used without compensation to

the Bank.

        B.    The Debtor Does Not Have Any Equity in the Property and it is Not
              Necessary to an Effective Reorganization.

        20.   The Debtor filed a Plan of Reorganization and Disclosure Statement on

August 31, 2008. Note A is classified as Class 14(a) under the Plan. For purposes of

the Plan, according to the Debtor, the fair market value of the 3022 Hennepin Avenue

property is $800,000.00.




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        21.   As of March 19, 2008, the amount due pursuant to Note A and secured by

the Mortgage was $543,902.61. Additional interests and costs continue to accrue.

        22.   According to the Debtor’s Schedule D, St. Stephen State Bank holds a

second mortgage, subordinate to the Bank, on 3022 Hennepin Avenue, with a total

amount due according to the Schedules of $155,674.00. Unpaid real estate taxes for

2006 and 2007, through August 31, 2008 equal $85,258.24 according to a check with

the Hennepin County Treasurer.

        23.   Similarly, unpaid real estate taxes for 2008 equal $34,674.53, including a

penalty on the unpaid taxes due in 2008. Thus, the total encumbrances against

Suburban World Theatre are at least $818,698.00. To the extent that the occupant of

Suburban World Theatre may also hold some encumbrance against the value of the

real property, it is unknown.

        24.   In addition, the property is not necessary “to an effective reorganization”

within the meaning of 11 U.S.C. § 362(d)(2). As stated in the U.S. Supreme Court case

of United Savings Association v. Timbers of Inwood Forest Associations, Ltd., 484 U.S.

365, 108 S.Ct. 626, 98 L.Ed. 2d 740 (1988), once the lack of equity is established, the

burden of the debtor is not merely to show that there could conceivably be an effective

reorganization for which the property will be needed, but that the property “is essential

for an effective reorganization that is in prospect.” That is, there must be a “reasonable

possibility of a successful reorganization within a reasonable time.” Id. at 376.

        25.   The Petition Date in this case is April 24, 2008. Although a Plan of

Reorganization and Disclosure Statement were filed on August 31, 2008, the hearing on

the adequacy of the Disclosure Statement has not yet been concluded. In the more




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than six months since the filing of the Petition, the Debtor’s exclusive right to have a

plan confirmed has expired.

        26.   One way to determine whether there is a realistic prospect of an effective

reorganization is to look at some level as to the feasibility of the Plan. According to the

Debtor’s projections, which were part of his Disclosure Statement and Amended Plan

filed on September 19, 2008, no outside funding is contemplated in the Plan, and the

Debtor intends to operate his existing properties at much higher levels of net income

than they now produce.

        27.   For example, according to the Debtor’s cash flow projections, net rental

income for the period from the Petition Date through the end of December 2008 is to

average $20,004 a month while net rental income for calendar year 2009 is to average

$34,010 a month, an increase of approximately 70%.

        28.   A similar comparison for the Suburban World Theatre shows how

unrealistic the projections are. To date, the Debtor has stated that the Suburban World

Theatre is not generating any income that is available to the Debtor. Yet, the

projections call for net income in 2009 of $186,636.00.

        29.   Neither the Disclosure Statement nor the Plan contains any explanation as

to how these dramatic increases in revenue are to be achieved.

III.    NOTICE OF WITNESSES.

        30.   Pursuant to Local Rule 9013-2(c), the Bank gives notice that it may call

the following witnesses:

        a.    James Senske and Brian Mallak, who are the Bank’s President and Senior
              Vice President, respectively, whose business address is 7650
              Edinborough Way, Suite 150, Edina, Minnesota.

        b.    Donald Driggs.


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IV.     CONCLUSION.

        31.   Based on the foregoing, the Bank respectfully requests that the Motion be

granted.

                                           Respectfully submitted,

                                           MOSS & BARNETT
                                           A Professional Association
Dated: November 17, 2008
                                           By /e/ James A. Rubenstein
                                             James A. Rubenstein, #94080
                                             Lorie A. Klein, #311790
                                           4800 Wells Fargo Center
                                           90 South Seventh Street
                                           Minneapolis, MN 55402-4129
                                           Telephone: (612) 877-5000
                                           Attorneys for Commerce Bank




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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In re:                                                         Bky. Case No. 08-41984-GFK

Donald Andrew Driggs,                                                        Chapter 11 Case

               Debtor.


                   MEMORANDUM OF LAW IN SUPPORT OF MOTION
                     FOR RELIEF FROM THE AUTOMATIC STAY

         Commerce Bank, a Minnesota state banking corporation (the “Bank”) seeks relief

from the automatic stay to proceed with its remedies with respect to the real and

personal property of the Debtor located in Hennepin County, Minnesota described as

follows:

         Lot 6, Block 16, Calhoun Park, Hennepin County, Minnesota

with a street address of 3022 Hennepin Avenue, known as the Suburban World Theatre

(the “Collateral”). This memorandum is submitted in support of the Bank’s motion (the

“Motion”).

                                           FACTS

         The facts in support of the Motion are set forth in the Motion. The Petition

commencing this Chapter 11 case was filed on April 24, 2008. As is set forth more fully

in the Motion, the Bank is a first secured creditor on virtually all of the real estate,

fixtures and personal property of the Collateral. The Debtor’s exclusive period to file a

plan expired on or about August 29, 2008, and the exclusivity period for confirming a

plan expired on or about October 24, 2008.




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                                         DISCUSSION

A.      CAUSE TO LIFT THE AUTOMATIC STAY.

        11 U.S.C. § 362(d) provides in pertinent part that:

               (d) On request of a party in interest and after notice and a hearing, the
               court shall grant relief from the stay provided under subsection (a) of this
               section, such as by terminating, annulling, modifying, or conditioning such
               stay –

                      (1) for cause, including the lack of adequate protection of an
               interest in property of such party in interest;

                     (2) with respect to a stay of an act against property under
               subsection (a) of this section, if –
                            (A) the debtor does not have an equity in such property; and
                            (B) such property is not necessary to an effective
               reorganization…

The term “cause” in Section 362 is not defined in the Bankruptcy Code. Whether cause

exists to lift the stay must be decided on a case-by-case basis. Murray Industries, Inc.

v. Aristech Chemical Corporation, 121 B.R. 635, 636 (Bankr. M.D. Fla. 1990).

        The Bank moves for relief from the automatic stay under 11 U.S.C. §§ 362(d)(1)

and (d)(2). Cause exists under Section 361(d)(1) because the Bank lacks adequate

protection of its interest in the Collateral.

        The purpose of adequate protection is to protect the secured party from decrease

in the value of its interest in its collateral. 11 U.S.C. § 361. In this case, the value of the

Collateral is declining. A company wholly owned by the Debtor is actually in possession

of and operating the Suburban World Theatre. It pays not rent to the Debtor, and the

continuing use of the Theatre adds to its wear and tear.




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B.      THE DEBTOR HAS NO EQUITY IN THE PROPERTY AND IT IS NOT
        NECESSARY FOR AN EFFECTIVE REORGANIZATION.

        As set forth more fully in the Motion, the encumbrances against the property

exceed the declared value, and therefore the Debtor has no equity in the property.

        In addition, the property is not necessary “to an effective reorganization” within

the meaning of 11 U.S.C. § 362(d)(2). As stated in the U.S. Supreme Court case of

United Savings Association v. Timbers of Inwood Forest Associations, Ltd., 484 U.S.

365, 108 S.Ct. 626, 98 L.Ed. 2d 740 (1988), once the lack of equity is established, the

burden of the debtor is not merely to show that there could conceivably be an effective

reorganization for which the property will be needed, but that the property “is essential

for an effective reorganization that is in prospect.” That is, there must be a “reasonable

possibility of a successful reorganization within a reasonable time.” Id. at 376.

        The Bankruptcy Code does not provide debtors with a license to indefinitely

delay confirmation of the plan and payment to the creditors. If, as the Motion points out,

the debtor has no equity in the property, the debtor has the burden of proving the

reasonable feasibility of its plan of reorganization. Although the level of this burden is

not as great as in an actual confirmation hearing, the debtor must at least show that the

things which are to be done after confirmation can be done as a practical matter and

that the plan may be confirmed. In re 160 Bleaker Street Associates, 156 B.R. 405, 411

(S.D.N.Y. 1993); see also In re Bloomington HH Investors, Limited Partnership v.

Gibraltar Savings Association, 1114 B.R. 174, 176-77 (D. Minn. 1990).

        Given the unrealistic and unsupported projections of the Debtor, and the ongoing

delays in seeking confirmation, the possibility that a feasible plan can be confirmed




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within a reasonable time is so low that it does not justify continuation of the automatic

stay with respect to the Suburban World Theatre.

        Accordingly, the stay should be lifted to permit the Bank to take appropriate

action to exercise its rights in the Collateral.

                                        CONCLUSION

        Based upon the foregoing, the Bank respectfully requests that the automatic stay

be modified in accordance with the Motion.

                                               Respectfully submitted,

                                               MOSS & BARNETT
                                               A Professional Association
Dated: November 17, 2008
                                               By /e/ James A. Rubenstein
                                                 James A. Rubenstein, #94080
                                                 Lorie A. Klein, #311790
                                               4800 Wells Fargo Center
                                               90 South Seventh Street
                                               Minneapolis, MN 55402-4129
                                               Telephone: (612) 877-5000
                                               Attorneys for Commerce Bank




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                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF MINNESOTA


In re:                                                       Bky. Case No. 08-41984-GFK

Donald Andrew Driggs,                                                      Chapter 11 Case

              Debtor.


                               CERTIFICATE OF SERVICE

Maureen A. Montpetit, employed by Moss & Barnett, with office address of 4800 Wells
Fargo Center, 90 South 7th Street, Minneapolis, MN 55402, declares under penalty of
perjury that on November 17, 2008, I caused the following documents: (1) Notice of
Hearing and Motion of Commerce Bank for Relief From the Automatic Stay; (2)
Memorandum of Law in Support of Motion for Relief from the Automatic Stay; (3)
[proposed] Order Granting Relief from the Automatic Stay; and (4) Certificate of
Service to be filed electronically with the Clerk of Bankruptcy Court through ECF, and
that the following have been served with a copy of said documents through notification
by ECF or if the recipient is not an ECF recipient, then by facsimile or first class mail, as
indicated:

Jamie R. Pierce, Esq.                         Sarah J. Wencil, Esq.
Thomas G. Wallrich, Esq.                      Office of the U.S. Trustee
Hinshaw & Culbertson LLP                      1015 U.S. Courthouse
333 South Seventh Street, Suite 2000          300 South Fourth Street
Minneapolis, MN 55402                         Minneapolis, MN 55415
jpierce@hinshawlaw.com                        ustpregion12.mn.ecf@usdoj.gov
twallrich@hinshawlaw.com                      Sarah.J.Wencil@usdoj.gov
Attorneys for Debtor

James L. Wiant, Esq.                          James A. Geske, Esq.
Rinke-Noonan                                  Wilford & Geske
1015 West St. Germain St., Suite 300          7650 Currell Boulevard, Suite 300
P. O. Box 1497                                Woodbury, MN 55125
St. Cloud, MN 56302                           JGeske@wilfordgeske.com
jwiant@rnoon.com                              Attorneys for Wachovia Mortgage FSB fka
Attorneys for St. Stephen State Bank          World Savings Bank and Aura Loan
                                              Services LLC




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Joe M. Lozano, Jr., Esq.                  Corey J. Eilers, Esq.
Brice, Vander Linden & Wernick, P.C.      Koepke Law Group, P.A.
9441 LBJ Freeway, Suite 350               3161 Fernbrook Lane, N.
Dallas, TX 75243                          Plymouth, MN 55447
notice@bkcylaw.com                        ceilers@koepkelawgroup.com
Attorneys for CitiMortgage, Inc.          Attorneys for Home Federal Savings Bank

Christopher A. Camardelil, Esq.               Carole Clark Isakson, Esq.
Daniel C. Beck, Esq.                          Michael C. Glover, Esq.
Winthrop & Weinstine, P.A.                    Kalina Wills Gisvold & Clark PLLP
225 South Sixth Street, Suite 3500            6160 Summit Drive, Suite 560
Minneapolis, MN 55402                         Minneapolis, MN 55430
ccamardello@winthrop.com                      Isakson@kwgc-law.com
dbeck@winthrop.com                            glover@kwgc-law.com
Attorneys for State Bank of Delano            Attorneys for Heritage Bank, N.A.

Via Fax                                       David G. Hellmuth, Esq.
Alice A. Blanco, Esq.                         Helmuth & Johnson, PLLC
McCalla Ramyer, LLC                           10400 Viking Drive, Suite 500
1544 Old Alabama Road                         Eden Prairie, MN 55344
Roswell, GA 30076-2102                        dhellmuth@hjlawfirm.com
Fax: (866) 761-0279                           Attorneys for Crown Bank
Attorneys for Wells Fargo Bank, N.A.

Executed: November 17, 2008            Signed: /e/ Maureen A. Montpetit
                                               Maureen A. Montpetit




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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA


In re:                                                         Bky. Case No. 08-41984-GFK

Donald Andrew Driggs,                                                        Chapter 11 Case

               Debtor.


              ORDER GRANTING RELIEF FROM THE AUTOMATIC STAY

         This matter came before the Court for hearing on the Motion of Commerce Bank

(the “Bank”) seeking relief from the automatic stay of 11 U.S.C. § 362(a) of the

Bankruptcy Code (the “Motion”). Appearances were as noted in the record.

         Based upon the proceedings, the Motion and the file herein, the Court now finds

that the Bank is entitled to the relief requested. Accordingly,

         IT IS HEREBY ORDERED that:

         1.    The automatic stay of 11 U.S.C. § 362(a) of the Bankruptcy Code is

immediately terminated as to the Bank, and the Bank is authorized to exercise its rights

and remedies with respect to any and all of its collateral in which the Debtor has an

interest including, without limitation, the estate’s interest in the real property and fixtures

legally described on Exhibit A annexed hereto; and

         2.    Notwithstanding Federal Rule of Bankruptcy Procedure 4001(a)(3), this

Order is effective immediately.

                                                   BY THE COURT:



Dated:
                                                   Gregory F. Kishel
                                                   United States Bankruptcy Court



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                                   EXHIBIT A


            Lot 6, Block 16, Calhoun Park, Hennepin County, Minnesota




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